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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


BROADBAND iTV, INC.,                               §
            Plaintiff,                             §
                                                   §
v.                                                 §        6:19-CV-00716-ADA
                                                   §
DISH NETWORK L.L.C.,                               §
            Defendant.                             §
                                                   §

                                              ORDER

        On April 20, 2021, this Court denied Defendant DISH Network L.L.C.’s (“DISH”)

Motion to Transfer venue to the District of Colorado under 28 U.S.C. § 1404(a). Dkt. 83

(“Transfer Order”). In the Transfer Order, this Court weighed the Volkswagen private and public

factors (In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004)) and found the following:

        Private factors

        (1) the relative ease of access to sources of proof: neutral;

        (2) the availability of compulsory process to secure the attendance of witnesses: neutral;

        (3) the cost of attendance for willing witnesses: neutral or slightly favors transfer;

        (4) all other practical problems that make trial of a case easy, expeditious and

inexpensive: strongly weighs against transfer;

        Public factors

        (1) the administrative difficulties flowing from court congestion: strongly weighs against

transfer;

        (2) the local interest in having localized interests decided at home: neutral;

        (3) the familiarity of the forum with the law that will govern the case: neutral; and




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       (4) the avoidance of unnecessary problems of conflict of laws of the application of

foreign law: neutral.

       On August 13, 2021, the Federal Circuit denied DISH’s petition for a writ of mandamus,

but suggested that this Court should “reconsider its determination in light of the appropriate legal

standard” for transfer factors as clarified in In re Apple Inc., 979 F.3d 1332 (Fed. Cir. 2020) and

In re Samsung Electronics Co., Ltd., 2 F.4th 1371 (2021). In re: Dish Network L.L.C., No. 2021-

148 (Fed. Cir. August 13, 2021) (“Mandamus Order”). Subsequently, DISH filed its Motion for

Reconsideration and supplemental brief (Dkt. 121) and Plaintiff Broadband iTV, Inc. (“BBiTV”)

also filed a supplemental brief (Dkt. 122).

                                              ANALYSIS

       The Federal Circuit suggests in the Mandamus Order that this Court reconsider its

analyses for three factors: (A) the local interest factor; (B) the convenience of witnesses factor,

and (C) the practical problems factor.


       A.    The Local Interest Factor

       In the Transfer Order, this Court found that the local interest factor was neutral in part

because DISH “employs over 1,000 employees and owns call centers, warehouses, a

remanufacturing center, and a service center in this District.” Transfer Order at 12. The Federal

Circuit found that this Court “erred in relying on DISH’s general presence in Western Texas

without tying that presence to the events underlying the suit” because the local interest factor

“most notably regards not merely the parties’ significant connections to each forum writ large,

but rather the significant connections between a particular venue and the events that gave rise to

a suit.” Mandamus Order at 2 (citing Apple, 979 F.3d at 1345).




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       In its Motion to Transfer and supplemental briefing, DISH contends that its current and

former employees who designed the accused products all acted and reside in Colorado (where

DISH is headquartered), while DISH’s presence in this District “does not related to the events

underlying this suit.” Dkt. 121 at 4. However, BBiTV points out that DISH (1) operates one of

its two U.S. remanufacturing facilities in this District (with the other in South Carolina, not

Colorado), where it makes the accused products, and warehouses, sells, offers to sell, and

services the accused products, and (2) operates sales and distribution centers in this District for

the accused products. Dkt. 122 at 8. Thus, both District of Colorado and this District have

significant connections to the events that gave rise to this lawsuit. Therefore, the Court finds that

the Apple standard does not change its previous finding that this factor is neutral.


       B.     The Convenience of Witnesses Factor

       In the Transfer Order, this Court found that the convenience of willing witnesses factor

was neutral or slightly favors transfer in part because (1) the Court assumes that no more than a

few party witnesses will testify at trial given the typical time limits at trial, and (2) convenience

of party witnesses is generally given little weight. Transfer Order at 8-9. The Federal Circuit

found that this Court “improperly diminished the convenience of witnesses in the transferee

venue because of their party status and by presuming they were unlikely to testify despite the

lack of relevant witnesses in the transferor venue.” Mandamus Order at 3. In light of the Federal

Circuit’s guidance in Samsung to allocate at least some weight to the convenience of party

witness especially when there is a lack of relevant DISH witnesses in this District, the Court

modifies its previous finding and now finds that this factor strongly favors transfer. See

Samsung, 2 F.4th at 1379 (“Even if not all witnesses testify, with nothing on the other side of the

ledger, the factor strongly favors transfer.”).



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       C.    The Practical Problems Factor

       In the Transfer Order, this Court found that the practical problems factor strongly weighs

against transfer in part because BBiTV has filed co-pending actions against AT&T and DirecTV

in this Court involving three of the four patents asserted in this action, and these actions involve

overlapping issues such as claim construction, invalidity, prior art, conception, and reduction to

practice. Transfer Order at 10. The Federal Circuit found that this Court “erred in weighing the

practical problems factor heavily against transfer without taking due account of differences in the

underlying technology of the co-pending cases and the availability of multidistrict litigation

procedures.” Mandamus Order at 3.

       In its supplemental briefing, DISH asserts that the allegedly infringing devices are not the

same in the co-pending cases because the accused AT&T and DirecTV devices involve different

hardware and software from the accused DISH devices. Dkt. 121 at 5. However, there is no

dispute that the same patents are asserted in both this case against DISH and the now

consolidated case against AT&T and DirecTV. Dkt. 122 at 5. As BBiTV points out, the asserted

patents in the co-pending cases are directed to the same underlying technology, which includes

all three defendants’ accused set-top boxes that receive on-demand content and system to deliver

on-demand content to a subscriber’s device. Id. Therefore, this case is vastly different from

Samsung, where only two of the four patents asserted against Samsung overlap with those in a

co-pending action against Bumble, and where “the Bumble case involves an entirely different

underlying application.” Samsung, 2 F.4th at 1379-80 (emphasis added). Contrary to DISH’s

assertion that “it is likely that [BBiTV’s other] cases will result in significantly different

discovery, evidence, proceedings, and trial” (Dkt. 121 at 5), the Court finds that the opposite is

true here. Because the co-pending cases against DISH, AT&T, and DirecTV involve the same




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asserted patents and the accused products in these cases involve the same underlying technology,

the Court maintain its previous finding that this factor strongly weighs against transfer.

        The Federal Circuit’s Mandamus Order does not disturb this Court’s findings related to

the remaining private and public factors. Therefore, this Court does not need to reconsider its

previous findings regarding those factors.

                                          CONCLUSION

        Having reconsidered this Court’s previous Section 1404 transfer factor analyses in light

of the Federal Circuit’s guidance in the Mandamus Order and appropriate legal standard as

clarified in the Apple and Samsung cases, the Court modifies its findings regarding the Section

1404(a) transfer factors as follows:

        Private factors

        (1) the relative ease of access to sources of proof: neutral;

        (2) the availability of compulsory process to secure the attendance of witnesses: neutral;

        (3) the cost of attendance for willing witnesses: strongly favors transfer;

        (4) all other practical problems that make trial of a case easy, expeditious and

inexpensive: strongly weighs against transfer;

        Public factors

        (1) the administrative difficulties flowing from court congestion: strongly weighs against

transfer;

        (2) the local interest in having localized interests decided at home: neutral;

        (3) the familiarity of the forum with the law that will govern the case: neutral; and

        (4) the avoidance of unnecessary problems of conflict of laws of the application of

foreign law: neutral.




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       With two factors strongly weighing against transfer, one factor strongly favoring transfer,

and the remaining factors neutral, the Court finds that DISH has not met its significant burden to

demonstrate that the District of Colorado is “clearly more convenient” than this District.

Therefore, the Court DENIES DISH’s Motion for Reconsideration (Dkt. 121).



SIGNED this 3rd day of September, 2021.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE




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